






Opinion issued March 15, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00725-CV






THEODORE JACKSON, Appellant


V.


LOUVENIA JACKSON, Appellee






On Appeal from the 387th District Court

Fort Bend County, Texas

Trial Court Cause No. 2003CV133096






MEMORANDUM OPINION	Appellant Theodore Jackson has failed to timely file a brief.  See Tex. R. App.
P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


